Case 1:24-cv-02903-MJM Document1 Filed 10/04/24 Page 1 of 22

UNITED STATES DISTRICT COURT!" =

DISTRICT OF MARYLAND

Print clearly and legibly the following information: Xt __, ATBALTIM

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Case No.

DEPLFY

Print the full name of plaintiff.

(Include case number if one has been
assigned, otherwise leave blank.)

-against- COMPLAINT

(Prisoner)

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names of all of the defendants in the space provided, please Gace ads
write “see attached” in the space above and attach an Aosess *&
additional sheet of paper with the full list of names. The
names listed above must be identical to those contained in
Section 4.

1. LEGAL BASIS FOR CLAIM

State below the federal legal basis for your claim, if known.
This form is designed primarily for prisoners challenging the
constitutionality of their conditions of confinement; those
claims are often brought under 42 U.S.C. § 1983 (against
state, county, or municipal defendants) or ina “Bivens”
action (against federal defendants).

BM Violation of my federal constitutional rights

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2. PLAINTIFF INFORMATION

Plaintiff must provide the following information. Attach additional pages if necessary.

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First Name Middle Initial Last Name .
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State any other names (or different forms of your name) you have ever used, including any name
you have used in previously filing a lawsuit.

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Prisoner ID # (if you have previously been in another agency’s custody, please specify each agency
and the ID number under which you were held)

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Current Place of Detention

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Institutional Address

Cnotmer\oad : Moxc\aord AASBA- SANA

County, City State Zip Code
3. PRISONER STATUS

Indicate below whether you are a prisoner or other confined person:

LI Pretrial detainee

&! Convicted and sentenced prisoner
1 Immigration detainee

Ll Civilly committed detainee

L] Other:

4, DEFENDANT INFORMATION

To the best of your ability, provide the following information for each defendant. If the correct
information is not provided, it could delay or prevent service of the complaint on the defendant.
Make sure that the defendants listed below are identical to the list of defendants in the case
caption at the top of page 1 of this complaint form.

Attach additional pages as necessary.

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First Name Last Name Badge #

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5. STATEMENT OF CLAIM

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Location in the institution *XASOD PAcDM Wea Wid eavariy SA .

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If outside an institution, state where

e When did the events take place?

Month, date, year San nas Or” : BOA
Time of day ‘coer nota i ssf any

e State here briefly the FACTS that support your case. Describe
1. what happened,
2. how you were harmed, and

3. how each defendant that you named took wrongful action that caused you harm.

Attach additional pages as necessary.

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If you were injured as a result of these actions, describe your injuries. Also state if you needed
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7. RELIEF:

State briefly what money damages or other relief you want the court to order.

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8. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause unnecessary
delay, or needlessly increase the cost of litigation); (2) the claims are supported by existing law
or by a nonfrivolous argument to change existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a
reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise
complies with the requirements of Federal Rule of Civil Procedure 11.

e [understand that if I file three or more cases while I am a prisoner that are dismissed as
frivolous, malicious, or for failure to state a claim, I may be denied in forma pauperis
status in future cases, and be required to make prepayment of the filing fee before my
complaint can go forward in the court.

e agree to provide the Clerk's Office with any changes to my address. I understand that
my failure to keep a current address on file with the Clerk's Office may result in the
dismissal of my case.

Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, plaintiff must also submit an IFP application.

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